      1:18-cv-01373-JBM # 30      Page 1 of 30
                                                                                      E-FILED
                                                           Thursday, 18 July, 2019 03:43:31 PM
                                                                 Clerk, U.S. District Court, ILCD




•                  IN \he Uni-l-ed ~+At-es
                        b,-&.\-r lCJ c•ur.\- - C-e,1-trf\ l
                    'l), ~ +,,c_+-      Of .I.ll,nc1 S
                                          )
                                          )
                                          >CFtse. ~CJ. !8-cv- l373
                                          )
                                          )
                                          )

                                          ) J-lonorA 6\eJud3e
    SusAn ·pren+,c.e, et           A\., ) Joe      Bd\~ Nf dAde

•                                         )         pres1dtn3


                 Plet(\f t-f+ Gieorgio C7Alnes fies+
                           Rmenofd ComplAtn.\-

        --:Plrt1n{1~ Cieor310 ~Allles            pro'.se ; resp~c-1-~ull~
    p+A+es for   h1,s     Tirs-l- Arne"ded ComplA1n}               As
    lFoHows:
                                 Ne+u<e       Of The Cf\se_
     (1Jlhts Rc..+t0n                           42 lJ, S. C,
                            IS brou5ht p\JrSuAtf)+ to
    ~ \9i3 -\-0 redres s Crue\ And UnusuA \ Puf\1shmen+
    1
     perpe-trA.\-ed l<\ V10\~+10() Ot +he 8th And \L\+h
    f\l'Y)endmE'()+s +o wh,ch plA,oh~f               WA~ .Subjecied
    ~o Excess we 'Force. -trorn S. o. R.T. O+f1ce,s And
                               ( \)
        1:18-cv-01373-JBM # 30   Page 2 of 30




    .I0humAoe And UosAnr+Ar~ hv1n3 C'ond,+,on~ bl3
     J us~ n Pren+tc.e ·f\fld 'bown 1-a Dr~sdt=de , on
     'februA-r~ 21Gt- And z2c(\Cl ot 2.,o\ ~, while
     plr-Hn-h-r+ WA.j ~Ol\~ed l() -+he Adm,A,str"'+\ve
     ·Dc+eo+1on Unvt- f\t -Pon-t-,AC. Corr~c-t,onAl
     Cen.\-~,.

    ~) On F-e'oruAr~ Z\Sl-          And   zzcn~ ZO\<?,   plA1nt,.f+
     WA-5 -\-h~ Subjfe~ ct R MA IlC1ous And
     SAc\1s\-,c ft.\--\-fH~K pe,petrR--\-~d b\1 Corr-ec+,onAl
     off,cers ~ Ph~ \()ivrf WPrS SubJ e c.+ -to f h~ t, IC Al
    +or+u,e       ftr\d   deC\, e..d bA-siC.. nee es s ,+H~s
     l1Ke   WAttr    -/tr   dAcjS   A+-    f)   4\Me.

                                 Per+-, es
    (r) plA1nhH qeor,310 ~(-II/Jes Currentlj Iii l'\n
     jlflmf\l-e A+ Pon+, 11-c Correc. hont'l \ Cen~r, Inrolil--e

    re
     nurnher mz3 q '1& 1 Ancl Under +he.. Cus+od~ <Jt-
            J::l\t(lOIS Dep11r+men+- Ot Corree•hof\6.

    (4) De.PeodAn+ OusR-n 'Prenhc.e ('' MAJ or "Pren-hce'')
     WA-s Pa+ Al\ r~\e.vAn.\- +1m~s ~ dul~ oworn
    Correcl,of\A-\ Of+,cer wi+h .J:l\ tnol s t>epAr+men+
•   0-f Correc+1oos f\+ '"Poo-\-u,-c Correct ,onf:11 C-en+--er.
                 1:18-cv-01373-JBM # 30      Page 3 of 30




  •        (s) DetendAn+ S3+. bowni-e                  br~:;df\let'S-9+, Dr.i1sdAl-e'')
             lUAtS A+ Al\ re\evAn+ +·1m-e.s R- du\j Sl>.Jor-n
             Corre.c.+1onA) o#,cer wt-l-h -the IH,no,s
             bepA,+-mto+ o+ Co,r-ee-hoos A+- Pon+u'rC.
             Lorrec..41 on A-l Cen-l-€r,

            (u,) befendAn.\-           Si,
                                       PAu\ BIA-t\sw~\I o.P -1-h e
             .Srec I A- l Ope rA·h on5 k!espo e -\-e A-rv-J\5. o. R. +.'')
                                                     f),S

              WA-5 A+ A(\ re.levAn+- -+Hn~s A ~u\~ owoR()
              Correc..+tof\A \ of+cc~~ Wt-th +he .I:l\,no,s

  •          l)epAr-\-men+- a f Correc-\-,on s fr-\-- 1)00+1 f}e.
              Corr<?C.t-1 on A-l Ceo+er.

           ('7) t~e+endAn-f- An+on h                f\2\er         ~ -th-e Spec, A\
             Opt>rA+lons Response "Tef\m (// o~·o. R. T. \\) WAS
             .f\+ All     re le-vAo+   -l-1mes A b_u\j Sworn Corre<:+1cf\A-l
              of-Ptcec-   (J.ll~   -{--he I\\,not~ D-epA,-\-men+- o.Q.
             Corre c:+ ions         A+ :Po n+-1 A-C Lo,r.ec-\-<af\ A-( Ceo+er,

          (i) De+~n:\An} L011lt~m ~-~rd                     o.f.   +he J pec.t A\
             OpirA+1ons Response. 7e.~M ('"cS'.o:>~:T.\\) WA-S
             M All re\tvAnt +tmes t'-\ Du\j 0 t,...)or-n
             Co re- ec. .\-t Of\ f\ \ Of+\ ce r lJj \ ~h -ti')~       r
                                                                ll In O L5
             {Jep-1'·,trnent o~ Lor re C..~ tons M ·l )o n.\-1 A-t..
             Corre e{\on A\ Ce"tec                      .
                                                    (3)
~==;;::;:=z:=~u~..-::-~-=-=-=-=-=--=--=-~-----==-           -==-----
~                                          - - - - - -                               -                       -



    -   -   - _-     -   1:18-cv-01373-JBM
                                   -       -#- 30   Page
                                                    -    4 of  30
                                                            - "'"-=-=   -   <...--                 =-----
                                                                                         --1- - ·...        -~--- -




              {q)      be.PendM+ !Amie Lukes o~ +he cJpernd
                   OperAhon5 Respono~ feA-m f' &.o. R,,T'') WA-S
                   A+ All ,e(tvAn+ -l-1mes A dul~ Ot.Qorn
                   Co,rec+1onAl of+1eer w,+h fht :=J:llLno\S
                   Deprqrtment- o.P         Corree..+1oos (-\.\- 1)on+1 F}C
               Carree .\-,onA I          Ceo+er,

             ~o) De.Prt"'dft{)+ TordA() Prf-7.\--\- 0~ +ht opeCLA-l
              Op~rA+\ons Response +eA-(Y") (' cL o. RoT_.')
              Wf+5 R+ Afl ,elevAnt- +crnes A PlAl,:j Sworn
              Correc+,onA l of-P1ce,c- W l+h --th-e :f=l11no1s


        •     Depf\r+rnen·-t-             oi
                                  Cc:, rrec+ 10 ns A-+- Pon+ 1-A-C
                   Co,ree: {-, on A, 1 Cen+er          ,


                                             Jur1sd \Ct ton
                                                      8:n D
                                                Venu f
              (Jt)lhe          Cour+- htrs subJec-\- rt11t+k, Jur,sd1ct-1on
                   purs1.u:1n+- +o 2 8         u.
                                            s. e. !S 13311 1343. l/st.r1.lle
               IS        proper     l() +he Llnt-t-ed s+A-l-e.s                  DtS-t-r-lC..+
               Caur.\- tor +he Cen-l-rA-( -~L5trlc~ OF Ill,notS
               purs1J.Ard- +o z ~ u .s. c.. ~ 139 I (B){z) bec11u se.
        •     (-\ Subs+An+1Al fAr+- o-P.-\-he. event or omisslons
             j'"'".'.J rise -1-o +he § 1qf3 cl111ms                                       A+ issue.
                                       4
         1:18-cv-01373-JBM # 30   Page 5 of 30




•    CC.Cured A+ Pon+1AC Corr-ec..\-,onf\1
     LtY10J6+on Coun+~ Lil ,~o, s .
                                                      0€.n+-(:,    1n




                            · d \rH '5-\-f' A-4-lve
                                  xhAu~:l:,on

    Oz)   ·vursuAn+      +o :r. DJ Oc c.               ru\e,5 1 An
      ~ m~ rj e. nc~ 8r IevAn ce I s subs +A-n h f-1-1-e d
      wheo +here ls ~ubs..\-Af'\+-,~ l r,~ \< o+
       \mrn,nen-l- per.sonA\ lnju,~ or \+ +\1e.,e ts
      Ser,oL\s t,repArf\b\-e hftrm +o Se.tf.
    (l3)        Mr. C1eor3to C1ALn~s -+\\~cl reju\Prr
         ,\evA-nces on ·FebruA,j 2- 3 1 201 'it', t-ebru.Ptrj
      12.Si 2o\ ~
                   1 f\nc\ 'F Qbru<+rj 2./'7, 2-0 I w, btit- ·+h-ese

     3r11!Vft oces • r<lA,j I cfl 11'.i d 1 s flf f1! f>reJ':' 80 on
        M-Arc.V1 6, 2.01 f( Mr. (ieo':)io C1A<ne.s +11-ecl At\
      ~mer encj 3r1evAnce -to -fhe LOA-,d-eo A{l-e3 lt'\j
           0
     ,be1nJ Spr11-c1ed w1¼ pepper sprA~, Torced
     +D Llc I nAt-e Aod d el1ccf\-t.e a f\ h\ r'Y1s e 1-9, held l"
     (-\ Cell w1-+hout    uJAter    +or dAcjS A+      A   +trne,
      And d~o1ed prope, (V\ed1cAl Pt+-\--entlo() b~
      Med,cA-l S+R-U due +o -\--he. Side Afflc+s o+-
     fhe 'Pef p~ r S pr P.j. Mr. C1At <H~s- f\ \ so Al l~ed
     he UJA-5 oeo1eJ cte(-)-ntnj Supplies far 4-h-e
     Cell he OCCufted which hR<l Feces of\ -t-he WA-II.
    Q1J) On MA-rclri l,,,
     1
                                  2,o%fht
                                        [;)Prrc\t'n d-eo,d
                1:18-cv-01373-JBM # 30      Page 6 of 30




        •    t-\-he. 3r1-eufrv1.ce sfA+t(')j
              Rnd -rhA't      -+he     8'' ev   A-n c e
                                                        1.\- WA-Sn ' ,- A•o
                                                           ,s hou l cl   cJ o
                                                                                 Emerjencj
                                                                                +h ro Uj h
             i}he f\(or()')A-/ process, Mr. C1A1nes {1\-ecl Ano+h~r
              'Emtr:5enc~ 3rtev~ce MA-rch 7, Zol 8' 8t-A+1oj
             but    +o +he prolo115ed De.IA-~ tn Mec11cA-I
               A+tet1+toA S+emm1,\9 from ·+he 8prPr~co~ oP
              f,e   rr~r   Jprf>rj b~      d'. 0 .. R.+ o-P-P1 cers I Mr, C1 n-,oes
              hA-s permr+n en+-           b l-e-edtoj .So res o" h l ~ 6A-e1<
             UhA-f- (-\-Re pAtn.C\d t1ncl tJeed6               +6    b~ .S~en b~
               Med1cA l S+tt./2. l/lr. C1 l'tlnes .stA+-ed ln +hts
              ~r\e J"Prnce he Subml+ttd &everA-l M~dtcA-(
               r'e~t,tes+s- bu+ WR-s 1 noreJ .
                                         0
            (15) t'he WA-rd€n· +he.n de,H-ed +he ,9r1evA-flCe
               As N'ol\I · f: meG enc j an Wl Pt-rch l 5, 2o I fr.
              ~ r. ~/\Illes +h€.n fi l-ed A-no¼ er 8 m£.rz; t n c..!:J
             ,RrtevA-nce. +o ~he. WA-n:l~f\ Abou+- +he
            ~Ver t1t-lf Conduc+ o.(: 8,. o., (<.. o.f+t cer~ on +
            f-e:brt.u~-rj 21 ...,frncl 22,cnJ o-P ZotS-. Th-e WA-rdfl\
                                 8



             de()1 ed      :+h11-+-   3ri-evt'rn ce       Prs f{oN         Em-er3-encj
             A-s welL
            oeo)          Mr.~ fl (f\eS +hen     Jef\+- A-It -th,~~
             1qrte.v.ornces +o         .+h-e A-dmt ns+r-A+l~ re..vt-e.w
            'teofrrd for- Af ptA-l Fu.rsuf\fl+ +o _L po. o                          o   c.
             ru  l€.S, lh~ AdM I 0( sl-rA+1 ve Re_ VI ~i,.l Bo+H'cl
             lS'+t:r~d .+hr-t+- r\dd1+loflA-l lf\form1t+L on W A--S"'
              reci)uired ~ frhe on31 n1d C1n~~R-oce And The.
             1
5--S-
                      .                         (lP)
      1:18-cv-01373-JBM # 30    Page 7 of 30




 response -h, ~nd-tr's :v1ev~Me t'rom                      (,0A-rden~
07) ff\c.h     '=rrH1 r3enc~ Cf 1evAnce hn--s +ne                  ·
 beefs ion, response, t A-ncl S LJ n A-+ur-e fro M
 +he w A-rd-eo As uJ e. \l AS -\-n-e dA+e _·T he
 ort3rnA-1 3,lev~nc.-e s wq-s s+Amfed rece 1vec1
  6~ +he         A-dO'Jl()\ s+.A-+-1v~   rev,~w     boArd- w1+h
  +ne      dA}e.s +hej we,-e rece,V'ed,
 Q&)       Jo +he f\drn1n1'5+rA+tv-e Revt~W Bo~rds
  reiues-t- -Por +h"c O,ljl()A 1 qrtevAnc.e A-f1d
  Respo"ses i3 M,nd f3o++ltn0 . M,. C11'\-1n-es
 +kn -!'1 led       r-l   rejul~r 3r1<,v,q..nce   +a --1-h-e
  Coun-sel6<       t:tJII•"· lh1s    3n~vA-nU WA-5 den1eJl
  l"Julj   lo, 2018,       Mr. C1 A1 nes  ~ppe141ed .-J.-h,s
  ~r,e.VAnce.      +o     +he. ,9r l~VAclCe 0~1ce. 7lle
  9r1-evAnCe o#,ee c\-eru-ed -\-hfl+ 3r1-evA-nce
  1

  0ulj '2\ 1 '2,018',         Mr. C1f\1nes
                                ~ppt~l-ed +he
 C1nevA-(lC.e 0#1c:er bec1ston +o +he Adm1n1.str~+,ve
 ('ev1-ew BoA-rd. 1he Adm10.1s+rA+1ve review
 boAcd d-enteJ fvtr. C7A-l()es's 3r--1-evA-"c-e
 on AUju6~ 2.3 1 2.018',\o +his clA~ none
  o+       Mr,   C,A<oes's Eme,(~e"Cj sr<-eVA-r"C.eS
   if\ -lk r-klMtr'hS trA-l-tve R'~v1-ew BoA-rd 's 0++1 ce.
    hA-.s be€n r·u \e d on.
( 19) ---Pllt10+t+t e>lh Aus+-eJ ~n~ AVA\ lAb\ e
   (-ldm1n1:'.>+n~+-1v~     reMe17J 10 ftce.ond,'1-nc.e. w,..tti
           1:18-cv-01373-JBM # 30   Page 8 of 30




•        ~ 2 U. S, C, § I ~ 9 'l ( e)          And     Ac C" r-d, llj   G
         mA~ brln3 +h,~ Ac.+(o().

                         ( MR. Gie-,oesS                Wous1n3)

     (?,o)       -Pl A10+1f?
                          e-o+-erecl -+he Cus+ocl~ ot
     +he. Il\1no\~ D-epA-r+men+ o~ Cor,ec..+,on$
     t c:illow,nj Conv,c+ioos l0 +he CtrCut+ Court-
      of Covi< Couo+~ Of\ Fe\on~ C,hf\-r3es .lne
     .!t( llno1s DepA-r+rn-e.n+ c+ C' orrec+< o()5 t n r4-, t:il ~

•      hou~·ed ~A-tn+-1~+ P.+ S+Bt-evdt~ Corr-ec.A-1onf\-/
         C-e,o.\--er. _Ln 2ol4 1 plf\\()+1++ Wfrs+rAn5.f2~rred
      t~}-o  m Sf-A.-1-ev, (1-e Corre c:+, on A- ( C-t n-1-e r o    +
          on+tA-C Carret..+ton,A-( Cen-l--er,



              /The.Jibru.ftRY 21~1- and 22:nl', )
              l ---                 L6C. \<dorJO

    (2.1)       o~ +~brLll¼'lj z l, Zol            g   pl run+,# Wfl-S
      housed lo -+h~ Adm1n1s+rA+1ve be+e n-\-, on
      Llnd- of ·poot,A-C Correc+\o<H'-d Ceo+er.
    (ii ) bve +o A() tnc1den.t- -tnA-\.- d1dn'+- involve
•    ~IA1oh.C.C.1 Ot+,cers o+ -\-he. SfeCtl-\l. OperA+1of\S,
     IResponse~leA-m ('; J.D.,J?.1:.u) W~re CA l \ed
     I                              (~)
          1:18-cv-01373-JBM # 30   Page 9 of 30




•    -to ·+he Nor+h Ce.ll house/Rdm1n1.s+rA-f-rve
     Dekn+-10()      Un•+. Rs 3.0, R"T. O+-f, c-ers                  ,Prr-J
     0n   +h~ j A-/I-e r~ 1 sj+ . pf' u. 'I f3 lftC kw e. I Pt-n cl
                                                           J

     Un ,den+1+1ed        S,o. R.,. Oftt e-ers s+opped
     tn   front   o+- plA1nl,f.fs c~1l            A-S (;Jell r,-.s
     o+h~r ,nrnA-+es Cells             +oo
                     8            1
                       ¥1·a~t~:tw~ ~~/ SPR&y
•   (£3)      Scj+, BlocKweil ftskd plfhn+,-f-~ 1-f
    qhe c,JA-s reA-d.'.1 +o die ' ? '?l1wit-1~.e loo l<ed
                                         1


     Con{!used And dldn +- AnSOJer, ja+. B~flcl<well
                                   1



    -then &prA-c3ed plA-,<1+1-4 1n hl .s f°A-ce Rnd All
     .over h1s bodj, A-nd +hf_n +old plr-t,n+,~
      +c. Cu-1!-t up tn which pl l'\-1flt-1 .c+' Com,91, ed.

                  f\1ftJoR JuSao l='reo+,c..e Orders
                  0.0. R~T. OFFice,s +o [sea,+
                   Inmt\4-es :tolhe yftRD

•   ~q)         As plA1nt1f.f WA-S escor-ted ou-1- h,s
     Ce\l    he    WAs -+ooK A loo~ W ifu .o+h~r tnmA+es
                                       (9)
•- -   - -        - - -                - - -                - -       - -            - -            -              - -



          1:18-cv-01373-JBM # 30
                  --   -   -   -   -    Page 10 of 30
                                             - -=   -   ~---,,   .   ~=-    ~ - ..=----   --=   =       ,.:_J'I"   ----   -   ----




       -\-6 ·+he troo-+- door of +h€ Nor-th Ce.\\ house,
        Where he SA-w Mrs. SuoAn -'Pr.e0+1ce A-nd
        More S.. DoRcl, ~,c.ers.,                            Mrs. 'Pren+,ce
       -fuA-n +o \d +he S.. D. RC, --r: o-P+tce, escor+1n3
        plA1n+,~+-, +o pu+ plA1n-h.P.P a~ +h~ ~Ard
         ou+s\c\e. wt+h +he re.s-+- o-P- -t-h-e tnmA~s,
        And hAndc u~f~d h lM +o .+\,-e. +ence. ..


               · MA<lor SuSA-N "Prea±1ce f\nd
                 cS. 0, R,.-t. Qff1 cer A-n+on frAz.Lt:,
                t>en \es :P\Fr1n+, f~ CoA--\-                          ln   ~reeztf\3
                                       · Temp~rAfures
       (2s)     71Atn·h.P+ .s+ood hA-"dc~ed -+o +he
       +eoce on --\-he ~Ard lf\ I"\ pA1r ot- Shor+s,
        C1jm cl'hors, Rncl AT- .Shlr.\--, lh~ WeAfher
        o(l Febn.\Arj 2.\5 ~ 26l 8' toere +'reezt n3
       ffmpert<'l+ures be.low D de3rees. 'PIA1n+,++
                                                        0



         Pt-sked one o+ +he cS.o. ~.:T, o+-Ptce,s
        0-tf\nd1n5 Ou+&ide ( ftn~n FrAz.,-er)        he                      I+
       '' Could hf\ve AIICo A-+,\? 001 cer FrAz.1-er- +old
                                         #



       plAln+l-P+- fo Free:z...e f"ucKe()\~ M1tJ"o,
       Pre.o+lce. -+hen CA-me Ou-\--s1de +he Cell house
 •     I
        find ?lAln·+,      ~+
                         And o+he, l nrnA-.\-eS A5 Ke d
        her- +or CoA-+s. Mt+Jor Pr~n+, ce +h~o r.ep \1~d
                                  (fo)
            1:18-cv-01373-JBM # 30   Page 11 of 30




    ,, I~+ -4-h, s
                 be A \-esson Whe.n .'.Jou A 11 +h11lk
    Abt>u+ -.+hrow 1n9 --H1tn~ s A+- cHJ.I\ s+A-P-P ~
    ?\ AlOtt~.P ftnd o+her lf\rnA-+es s+ood t0
    +h~+ +n5 ,d weA+her +or 2-¼ 1-\-our.s ..
                · \1t\n{ \-P-t Is D~n ,-e.d Access
                Te> -l h~ Res+rooms And reed
                TD ·be+-ecA-+e And Llcif\A+e
                              ON \-\-\ms el~
                 f \~\ni,t~ f\rJ 6-ther :t.nrnA-te_j uJQ,e -\-\rle(\
•   (2&)
    +-RKen         o+~
                    +Y1e l-\f'rd find escorted ta -the
    ehcw \-\All. Whde housed tn +he ehow hAll
    1\~1(\h~ And o+her I.n(()A+t-s wer€ re.s-trA1r1ed
    And hf'ndcuf+ed -to 'A S\-ee\ SeA~. ?\A1n+,++1
    ~rd o-\-ner , nmA+eS we,~ \9lAArded b~
    S. O, R.:·T. c++,cers. P\A,n+-1tf -\-h~" As ~ed
     ~l0, R~,. o-f..C, ce,s , -Y-Ptrn ,-e \U \<.es, UJrl l I A (V)
    ~rd I Pinc\ J?rdtT()th:t+-+ 1! he ''could Ll&e
    +ne ('eu+roo('I)' ? A'\ ·-\-he o-f+\ ( €fS f €-Gpof\Cfed
     bLi ~-~~\"J ~o\~ Th,r½ f\/\lO(}A--es l-fl+er
                         f/


     ptPr1nt~~        b-Ejt\-n        +o    Ur,f'\A-+e Ptnd de+ectt+e
              ~\f(\8~\f,
•
     C)()
     .
           -
         ~ ~ - --
         1:18-cv-01373-JBM
                     -   -•-· # 30
                                 .   Page 12 of 30




•
    I
    {t7) -A+ 6i ~ oo  Rm & houvs IAter plA11\t,-l'-f
    tufts p\Ac.ed ,n Cell .soq \() +he Nor+h
    ~ouse. lh,s Ce.ll u.Jfls prA+1c.All~ Covered
                         +
    \n t- e ce s roP1 -the \fr& .\- ln(YlA +e who
     WA-s  hou~ec\ \() +h\s Cell. N\r-r0or --Pren+,ce
    t+o\Cl p lr:H nt, +t s Cl All-er Lj o+'+t ter And
                                 1


     S3+. ".Dclwl()t-e br~.sdieile              -\-o \eAve   plA1flt1.f'+
     And o+he.r          l()fY1A-=t--e's WA~r        o+--+, vlfiH)-tt#'s
    [shc.,r-+s, Shoes, -S h,r +-, Frnd <.S'oe:Ks ().)~re
    f hen ¾Ken -from p\ A1n-h ++a "P\Aln+t ~p.
    S..\-A~ec\ tn C~\\ 3o9 w1+h 3~sf- hLs
    !Boxers Q(), C'over-ed II\ Feces AACI pepper
     ~P•A~ ..for               3~ DPrj s.

                          PIA1o+1++ bevelts
                         SORts From 7n
                         1=£pp-er ~DrR-~ Anb
                         Seehs M~dtc&l
    I
                                A.-\-\--en},oo
    (28)
            1:18-cv-01373-JBM # 30   Page 13 of 30




      3oq   pl111n-+,~ d1dn• -1-- hAVe Any o+ h,s
      prop~r¼ Ii ke p-en And VApe(' So he
     Co u Id n •¥ Subm 1-l- Med, c14 / reiu eo+- s.
     rI"nskA-c\ wh~n Nurses 5+opped A+-
                   1ve h t(Y) h,s P,Sc:JCh Nle.ds 1
      hIs Ce.II +o j
                                       1+
      PIA1n+1~t ASl~ec\ ·+he~ Could Subm,+
      him +or Sick CA\{                     +o
                                ~ee Y-\ boc.{or
      per+ t-\ 101'fl:) +o h,s 0ores , f> IA, o+,-C--P
      tJJA5  c5een Approx1rY1fl+e.l'.j ~ Wee.l<s
      \At-er b~ f+ Nur.se,
•                            Aln+\++
                         CeAntn.9. u,:>ol,es
                                                     ues+.s
                           t\Qb        WA+eF
    (.zq)       bunn~ -the 3-\ l::>Aj-S ,             s+np    Ou+
     f lA1n-1-t./!+      Seen        .S,=/. 1::,oum,e Dr~sdAle
     r~+'
    IWAll<1n.9 -+he JAlierj· -PIA1nft.M 0'./-opped
          b r~.s c:ki If flrd e)(.pIAInecl hIs rred l(f\-/
    ~tuAf-1 on +o him As ()Jell AS S'howed
     ~q+, br3sdAle -the dried Up Feces
    p'f-i +he WAIL plA1n+,.U fold Sj+,
       rysdAl-e he needed lr\(5 UJA+-e, Cut
     bfftk 0() And 8ome clet1(\l():j _N\A.\-e(tl'\-l
    ~ e,1-e-~n the Cell ()J,+n, -S.g+. t::,,~~c!Ale
________
       (1'3_) _                                         _
                                          -                  -                                     - ~

        1:18-cv-01373-JBM # 30
                      •••      •    -   Page 14 of 30
                                              ---       __ .,.,,,__ •• _1.~   •   . . .-   --•-   - - - ~   • I




•                              11
    if"-epl1€d StG~q '5orr'.j \3udd_y, I CA-(l'f
     l)o -t-hA+ ~ uB- WA-~n'+ Lln+,I A Week
     IA+er +hA+ r,IA-1fl+1-A-' WA<; q,vel'l Iii
     A1tCe       o+         ~oAp _+-he ~12.e o't                                       A CC)1n,
       bj      MA-Jor <lusrin 'Pren+,ce,
             Coun+ i -                  ~z LtS,C. ~ \983
               (MITTor SusIt() Prem- ,ce -g4t',qmerumEilt)
    ~o)       °PlfMtlt+ hefeb~ 1nCorpor~fes -the
    ~Ht9·A+1on& fu~~ Se+ -ror-\h here tf't Couo4-..1..,
     MA--'j-or dUJAn Vr-en+(c.e Au+horri. ed -f-he
     ph~&lCAI -\-or-+uve -\-o plAtn+,ff uJhde
    P.IA,nh+f WA-s res+rA1f\ed. A-1- 14\\ rel-e11111-\.J.
    -:+1mes, MAJor pren+,ce Wf\s A Duly
    Jworf\ Correc.+1of\i'+l 0-t+\c.er Wi+n +ne
     3+A+e o+ Ill1nots who WA-s ChFrr3ed
     W1+h --I-he CA-re And C'us-kdj ~ pIA Ivi+,-W,
     NlAJ'or ~ren+1ce ft.\-ed lJJAnfonfj -\-owArd
     pIA-tnh~-12     f\od Aeted Mill lie 1ous~ f\<\d
      0 A-cl, s-h CA 11,'j w1-+h -1-h~ I/~r~ plAf peo e o+'
     CAcJr\~      hf\ r-M .
    G?> \)    The Ru+hor- tZ-A-t ,on                             o+ -+orce orde,-ed
    ], ~L\       pren+,ce WAS No+ ~ece:ssA-r3 1
             MA-Jor
    l\JAs ~o+ App 1,-e.d tn propor+ton +o 11 fl_:i
    :~A.son A-bl~ r~rce(l41 +hreM-, iqnd Wft-5
    1:18-cv-01373-JBM # 30   Page 15 of 30




 Rpp lied Lu i+f-oo+- e-f4:'or+ -+o {{:rilper +he.
 8ev-e r ~ o+' +he i"Dr-c e -em~ Ioc'J eel. Pl fl 1n-1-i ft'.
           t
 Wt'\--S 8n e vous Ij •nj ured , Sui+e red
 hod,I~  1nJur~ , expe>oed -+a Bod,lj-+lu.tds 1
  ~-ncl UJfls ~reed +o ~rdure Crctt-el And
  UnusuAI pun1shmen+ tn v1o(A-+1on o+
 .+he [ th f}-m-endmen+ fk A- Dt,ec.+ Ancl
  ~rox, rnf\-\.e ,e.sul+- o+ +he MA l1c1o~s
   -And S-Ad1s.\-1c. Conduc{- o.f M\C\-J"or ~ren+1c.e .
(3:L) 7ne -Poree Au+hon~d b~ M1,Jor
  pr-en·h ce on p lf1t(\+t ~--C w~s ex.ce~s \Ve
  And Cftused \C\n lJnuJAnt-ed A-n UnecessArj'
  1fltl1c+1on of <l'erious pfl.11'). MAJor
 f r-en+ 1ce '.s Con d1..1 c./- ro .s: e .+o -+he \e IIeI
 4-o be .So ~rejrous -+hA+ MA-Jor
  preo+1ce Ac+ed w,--+h e:vd mo+,ve or
  tn+€n-l- And Wt-\-h rec\<\ess or CA \lol.{S
  1nd1+t~f e()ce +a-the F-ederA l pro+ec+eJ
 rt.3 h+s o+' o+he rs.

  Where-fore             Geo~io        c;tl,oes   prA~s thA+
 +nLs   Cour+:
       1:18-cv-01373-JBM # 30   Page 16 of 30




•   t;e-or;310CiA111es fl.od ~A1M+- Mi:i.::ror 0u..sA-n
     e('en+lce lf\ All Amoun.-t- no+ \ess +hA-(\
     41150, ooo -for -!--he ph~f 1c.A-\ dflm'c:'Jt'S
     tncured .
    (B) Order      Mf\.r&r Pren+tce +o re+rA1\'l from
    ~ u,-+he r VIo\ A-.\-1 on o-+ ~eo~9 1o qf\ 1l'le.s ':s
    ,Cc1ns-\-, +u+,ont<il Rj h+s Uri3-e.r fhe gtti
     Prm~ nd rnen +-;

    (e) AwMd f Un -lwe dA(Yl AJ e-s
                         I           {I'\ f\-() AIY1out'tl--
    ·+o    be de+erm, ned A+ -tr\ Al )

    (D) Such  o+her ~,ler As -\-he Court-              deeMS
     0u&t- f\nd ecl'..1 \+t1 b\e.


             Coun-\- z- 42 U,3,C. § l9i3
            ( S[fLbou>t-1\£ l>rt:}5dA \~ -gJ" ArnendmeoJ-J
    ($3)      PIA,nt,t+ hereb~   1ncorporA.\-es +he
     tl ll~Ahons -full~ Se+ -f:or+-h he.re I I'\ Coun+
    l2,, ~-1-. bown,e brj-SdA-1-e den,ed f?IA1n+1ff
    CleM1n<;1 NIA+en11tl to C.ltl'l-n h,m.s~lf Uf
     ~s Weir f\ s h,~           Le..'.(iu~+
                                    Al I re levA-n+
         1:18-cv-01373-JBM # 30   Page 17 of 30




•    -t1mes, ~- brjsdAle          WA-s A dul'i .Sl\Jorn
     C.orvec.-\-,0{1A\      o+~, cer wr\-h +h€ ~+Ak
     of .l\\,001& who WA-.s Chttraed w,+\-) +he
     ~Are And Cus-!-odj o+ plAln+,+f 83+.
     D rj s dA-1-e Rc-\-ed w~n+on (j +ow R r<:L
     f; It'T1 n +1 -1+' A ncl f\<:-kd M A- I1c Ious~ Md
     !:fAd10+1ci:i-l lj w 1+h +he Verj --Purpos-e o-f
     CAtkSt~9 h~rm,
    (34)     t>en1.pn3 p ll'\tn-f- 1-t'-P -\-he BA-st c
      Nec.e.ss I +1~5 WA-S no+ nece.sSt4r\j I w~s

•     not- App l1€d 1n fropor+,on +o Ari_~
       reMonA-6~~ p-erce_,ved +h0er+-l-, And
      WA-s Af p ITe.d W t-+hou~ e~r+- +o -f-erf)per
     {he c)~V€r,+j o+ 4,he hA-rm . emp l~~ed,
       Plrllnt\ff WA-s 3rH~vous \~ l fl..'H,\f'.e.d ,'S ut+€red
      bod, 1~ l().Ju,~ ~nd WAS ¼r-cu\ +a tnd u.r-e,
      Crue.\ And Unu.suA 1 punl s hm-e.f\-\- l '1 V1 olA-han
      o+ +h~ ~+li (-\N"lendM~n+ A--s A d\ree.+ And
     r  ro X( (Y) A-1-e f es U I+ 0 f --1--h~ rJ\ A_\ I ( I o US
       Y-tnd S'Prd ls+, c Cond~c+ o-P ~9+, ~r~SdA-1~.
    (~s)          0~. b~sdA-leS Coriduc+ r-ose +o
     +he level -\-o be 00 ~re31ous +hA.\- S3-l-,
      ~r~sdA- 1-e A-c:.\-ed w (+h evd Nlo+,ve c, r l r'\t-ef\t-
     .f\od- W,+h rec.Kless or C1+\\otls tndl-Pf~,~()ce
     -to +he FederA l (Protected r\:}h+s o+ others,
                                   l'7)
• -           -         -       -           -   -             -   - -        --     -



                          1:18-cv-01373-JBM
  =-- ~ - ___, , -__ --_-_-,.--,-,-,,:. -e--.. -=--=: ~   -~Page
                                                       # 30   - =18 •of 30              - ---   -   - --




      •
                   t) ~('\+er ::ructfmen+ on                           C'ouo+ 2.. lfl --Pf-lvor
                     p.P     Ci,eo~ 10
                                   9Alt1eS ~nd ~8R\ns+ 83+.
                     Dr~sd~d-e ln -f\n A-mcH.-to+ no+ l-ess +hAn
                    f 15D,6Do -f'or +he p~.sicf\ \ DPtmAjes
                    ,l ()Cuf'e.d,


                   (B) Orel-er             scJ-1-· Drj&dA I.e.          +o        r~-Qrn1n from
                    +ur4-V'ler V1 o IM-ton a..(.!                   0eo\3,         o C7A-1nes '.s
                    Cons+,+t..l-hof\A-1 r 13h-l--s Under~ g+h
                    jAm-tndnent..

                  ((') Aw11rd rll(l1 ~11/e dA1Y1t'l3e.s II'\ f\-n f\mouflt +a
                     b~ deA-er(Y')tntd fit +rift(.

                  (b) Suth ofher r~\le~ f\o --the. Court- dr~m 5
                    :::fuot Aod e1,tJ1 ~Ab 1-e .




                                                         (}<3)
          1:18-cv-01373-JBM # 30    Page 19 of 30




•                Coutltc.3 .. 'i.2.U.6,C.8 lqi3
               ( $ehl'Au16I AC Kwel I- 8'" Arneo;lmeo+)
                                                        ·


    (,%) -Plr:i1n-l-1~f here.bj rnCorporA+es +he
      A\l A.\-1ons As tu\\~ Se.t ¼r+h l n Coun+
      8.       • 'PA uI BI l'K'.f(o.)~l l ph~ 1c t1 H~ Rs:mu l-lec)
                   +~
      pll'l10 1 6-9 Spr~103 plA1n-h# {}l 1+h
      pepper 0p•A~ ~, t-{o 'J°'uo-1- R.~Ason.
      fit f)l\ re\evMt +unes                  l   ~a+,
                                                   B\PtCKwe:\ l
     Lu ~s I'-\     bu\~     ~UJ <ir   n Co_rred-10" AI o +-¥1 cer
     Wt+h  -th~ -S+A+e c,f It ltno\S who WftS
•    C hAra e d Lt'.) 1+h --\he ( A-re- f\ nc\ CLIS +adj Of
      ?lA,n+t~~,
    (StJ)      8a+, 8lAe~w~\ l Pc-\-ect WAn+on lL\
     -+ou}r.rd plAio+,~.P r,rd Ackd MA\ 1c I out I~
      f'.\nd   Jild s-l-1 CA-II~ l,tl 1..\-h ---lti1c v~r~ pUrr ocl' e
                    I
     D+' Ct\u01n3 hftrm .7he -Q,rc~ Afpl,ed b~
     J,9+ B \trCKweJl bJAS ~D+ fJe_cesSf\-r~ t
               r

     WA-~ t--10+ P.pp 1,-td lf\ propor{-10() to Rn~
      frn so (l AbI3 perce11/ec\ -1-h re1+J.-1 ftnd w A-s
      Rpp Iied (.JJr+fou+- e.Pt'or+- +o +ernp~r -fhe
     Sev~n+y 0+-t-n~ '¼.ce ~rop\o~ed.
    (sg)       1>ll'.\1n·h-\:-.fl WA-S crlel/00.SI~ tCI j ured           1

     OuW-ere.d b6d,I~ l".}11r3, And uJM -Por-c.e.d
•    +o
                                         1,t
           endu~ Cruel pnd UnL1.SuA \ puntshmen+-
      l(\ 1/i (3 lttt61') Ot       +nr
                             1A-rnendmen.\- f'.\-s It
~                       - - - -=---------=-=-
_..._.   _ ,____
                       1:18-cv-01373-JBM # 30
                   •·-=---"'--=r--=   =w,.-
                                                  Page 20 of 30




                   cl\ rec.,+ And prax l rt1f'+e ,esu H- of +he.
                    mPrhc10US ftnd Sr+dts·+tc Conduc+- o9
                   sS;9t. Blrtc.VuJel\, 1nt -Pore~ Llsed by S3+.
                   ·s1,,cKw~ll 6() plA-,vt+,-(!~ WA--;j e,:.ce-so1v-e
                   Rrd CAmed r,n U11wAn+ec1 Ard Unnee~ssl'trj
                   lf\..PI 1c.+1on 0~ pA-m .         'tj+.
                                                       6\flL~II 's Co"di,1c+--
                   ro&e. -\-6 +h~ \evel +o be ~o e3re31ous
                   +hA+        sa+.13lAC~o.\ell Ac.tee\ wr+h evd Mo-l-,ve
                   or- tn+en~ And w1+\t\ rec.K\~g_s or CAilous
                   \ncii-M\'r~nce +o -!-he +eclern l pro+i'c-l-~cl
                   r 13h+s ot Oi'hers .
    •                  \Jhere-h>re , qeoe310 ~ft1nes prf\'.F -j-P)A-+
                   +hls Cour~:
              (A) Enter JudAem~n+ on Coun-\- '3 in +A-vor
                 o+ C1eor~1c:, 'fii-:t1n-es rind A31\-1Mi"' 0&,
                'PAu I f t'f\-C.Kwe \\ lfl \Cl n Amou n-\- (\ o+ less
                   cfh1tn   150,000 -Por +he ph~s 1rn-l                  d1to'l~es
                   \nCured.
                   1


             (BJ Order                   .scl ·PA-ul t31AcKwe\l -ta   re-f!rA-11'\
    •              =-f1roM fl\r+her \/tal1%ion o~ C1eoG10 Cyil()e<) S
                   CC)(\s+,+lkl--1anA-I r13h+-s Undicr ~ ~~
                    A-rntrd Meo+- 1
_ ___,;:..,..____ _ _ _ [io)
I   -   .   II   -...--   -   1:18-cv-01373-JBM # 30
                              ·"'      •   t_   I   1 ...   .   .    f   Page 21 of 30
                                                                         --     -          • •   •   ==- ==========   -====




                 (9) AwArd pun 1+1ve df\iYl~s 1n ,:\n An1ouo+
                   +o be cle+erm 1t1ed J1'+ :.J-r1 A-13
                 (l>) Soch c+h€'r- rel,e-P A-s -the Cour+ deems
                    ·sus+- Rnd equ1¾h\e.
                      I             Count 4- 42. U.8.t. ~ \9'0
                     I (lAn-1-oo                                FC-ft-7 Iec-        r iqr,u~:rdmen1- )
                 (39) '?\ri1cr\.-i--V-.¥- hereb~ \f\CorporA-1-es +he
        •          f\ l\esA-h on s lt;s -tu 11 ~ oe.+ -+a r-1-h he re I (l
                          Couf\-\- ~. ~+'endAo.+ An+on FrA-:Z.Jer de<l\ed
                          P. \AI i\-hf~ I'.\ CO A-+ f\f'd l>JA-f'm-er C [ ()--\-h 1ns 1
                          Wh, 1-e     £IA-1fl-h +t                       s+ood be.low tf -+erllperAtur-e
                     +Dr             ~ ~\ours.
                                          A+ ~\\ re.\~vA-<1.\- +\m-es
                     1f\o-kn fi--A1.1er WA-s A Dulj Swor()
                     Correc+,of\A-\ o~-(-\c-er w \+h -\h~ sffi+e.
                     o.+ Ill1no1s who         ch~td w1+h -4-he            WA-S
                  CRre 'A-f\ct Cus+od'.i ot p IA1<\h~~ .
                 @o)         An+on tT1r2.1e r Ac-+ed w A n-1-on Ij
                 -f0u.1A-r-d plAm-i-1~ iqnd AcW MA I tc1ou.s~
                   A-f\d SAd 1£+1cAlly w1+h +he. Ver~ purpoae
                  ~ Cf\us t '\'.J hA-rm'. the ~ rce A-pf IIed b lj
                  !Ao+of\ FrA-z.1 e r WA-s not Ne.ress A-r~, uJA-s
                  NO+- t+pf lied tr'\ Proeor+·tO() +o Y\n~ r'et'tSOOAb}u
                                                                              r~l)                                            0
        1:18-cv-01373-JBM # 30   Page 22 of 30




•   perce1v'ed ---1-hreA+, Pi-od WA-s Pl-ppl 1ed
    j Wrthou+- e---P-Vor+- +o --1-empt'r +he Severi~
     o+ -th~    -C6rce emp f~lj·ed. ·PIA-1o+1# WA-s
    -force.cl 1-o endure true.I fr"d Unusu A- I
     run ,sh men i-- \(1 V l O ( A-ti of\ 0~ +h-e g+r>
      Arneodmto4- A-s A d1,~c.+ ·frnd prox(mAfe
     J\~\sul-\- o+ +h-e MA {1 c1ous A-Ad J~·Ad1s+1c
    r'orc\uc+ at ~n+on FrfrZl-t,.
    ~ I) \he, +orce Ll Sed b~ An-1-o() fuz 1-e r
    on p\A,t1t\H WA-S e:x.cess1ve F\{ld CA\.tSed
     An       u(\l,Jf\nted f'\Y\c\ UnneCeSS'l'\I~ ll\~hc+10()
    p~                A
          pI'\-(I" . n-1-o" Fmz.1 tr '6 Co rx: uc.+ r o se
                  l
    l-1-o '-1-h e eve.I -+o 6e          so e:J'--e3,
                                               ou ~ +h-A+
      An+ofl FrAzler Ac+ed L,Jl+\t)             ~Vi\
                                                 Mo+1ve
     or lf\knt And w,+h rec\<.\e~s or CA llou.s
     \f\di~+erence -+o -\,he +ec\~rf\ \ pro+ec+ed
     r ,3h+-s    o+-      o+ht rs:


        Wh-eretore,          C1eor310 C.1A,ne.s prA-~s
    r A-1- -I-his      Cour-+ ~
    (f) [fl+tr Tud,3ernent- on C'oul\+- LI 10 -PAVor
    1bf (qeo'c)10 GiicJines And A9A1n:s+ An+-on
     fFrA-z.\-€:1 t(\ An Amounf no+- less +hA-n
    I                               (zz)
--           --   --        -      --       -      --     - -     -~         -- -       ---   -      --   --       --
t=       -              1:18-cv-01373-JBM
                  --- ------~-- ~'=-.--"'•~ , • _ -,:,   # -a-----=
                                                            30 Page ---~23
                                                                         - of 30
                                                                           ~   _    _                 _        =




     •             -li15o,ooo                   --hl,-+he ph~s,cA-1                     DAfYIA-(3e.Q
                       \/\Cured         >


                  (B) Ordtr ~n+o() F"rrrz.ter -to fetrA tn -Prom
                   ..Cur+he.r V10IA+-1cn ot qeor~10 ~A-t(lf:.'S 's
                   ~ons+,t-u+1onA-f r,3ht-s unc\tr -+h-e. g-t+>
                    Am-endmen+- j
                  (c J Awfrrd           pun,+,v-e dAmAaes 1/\ l'tn Amoun+
                       +o       be cl e+erm I oed fH-- :.+r, ~ I )

     •            ('I?) Such o+h~r re\ 1e-{:                               frS          +h Court- deems
                       Tus+ Aod eci,LAl+Able,
                       !
                                    Ccu.C\\- s- ~t u. s.c 1C\ g3         s
                                (w    III lftm Byd- gt" me.ndvleo+)    a
                  (~2) Plr:i1nf1U                               herebj 1ncorporAl--es -the
                       A\le5A+1aos               t'-tS ·"F~~~L\ Se-\- -For+h here\() Counf-
                       5 , be+ e.nd M ~     UJd (1i4t'Vl ~ 4 ,d de Med
                       elf-h()~\ f+ .+he ('\,9h-!- to Lt'se +h-(:: res+roofY\,
                        CAu.s1f\~ pl111n·h f-'f                   ..+a LlnnA+e Af'd de.Pee Me.
                       Gn h,mse lt Wh,le                           he WA-s hA-"drut-f.-e_d A-nd
                       f'es+rA-1f\ed. ·-p\ A-t A+, {:.P .SA-t- ln                                 ht s Ur l f\e
                                                                   (23)
                                                                            ---------
'- -   - -                                       -



C 1•.~-- -                 =
                      1:18-cv-01373-JBM
                  - -...,,,-"!- = = -=    # 30       Page 24. of 30   -   --- •   • ,..   ••




                  f'nc\ Feces .Por ~ hours s+rR\3h+. A-+
                  !All relcvM+ +,mes will 1(t-(\'l 13~ rd w fts
                  ~ Dul~ Sw<'rn Ce>rrec+,on!"-J o41c-er
                  w,+h fhe s+A-+-e o+ .Tl\1no1s who WA-S
                  Ch A-tzcJ eel w\+-h .-\-he C-A-re f\-0d Ous+o dj
                  o+ pfo, 11+ 1+'-f. LJ 1( I,A-m 13~ rel A-c-1-e d
                  WA-Mon (j +cwArd pIA-1 n+, f~ 11-nd Ac+ec!I
                  fYlA-1 l e1ous l:i f\ nd S Ad ,.s-1-, CAllj {J.)1 +h
              l\--he      Ve{~
                          purp0oe ot- Cf\-us1n3 httrm.
         (~3)            e -+'orce Cf\uoed b~ w1fl1~M

  •         ,~yrd WA-s f..So+ ~ecesst'\-rj I WA-s tJo+
             R-fphed 1n propor+1on -l-o fin_'.1 Re1tsonAbl~
           p~rc.ei ved -Pnr~A+, fi-nd WA-s App I, ed
           l;.J 1th ou{- t¼ r-+ -+o -t-e f'()f er -the. Jeve r, ~
            ~ ~e +ore~ ~('(lployed. -PlRtn+1~ WA-S
          4'oreed ·+o e-(\dufe Cf ue \ A0d Unus ~ fr (
          1Pun \sh men+- \n VI o\ A-t , o o Qt- -\-he ff~
            1\-<Y\·WdtY\ent A-s A dwee+ A-nd prox1<Y\fl--l-€
            resu (-\- o+ -+he MA-I IC I ous Psnd ~:.SAcl,Q+t C
          Coflduc+ ot wdl1A-rY) 13(1rcl.
         (~LJ) !he -rorce. Use.d ~~ LJJdi1i'l-m 133rd
            Of\ ·-p\R\n+, # LJA-s fx:ce s~ tve And
            Un nece.ssM~ . W,ll1A-M B~,d '::, Co()duc+-
            Ro~~ +c ·4he \~v~I -\-o be oo e3,~jH)US
          +hM- LJ, \\t A-m Burd fle_+ed Wl+h E'v1 l
             .l                                      U(£4)
,_ _   -         -     -




  •                  1:18-cv-01373-JBM
                        - -          - # -30    Page 25- of 30
                                                             .-   --          -          -




   •            Mo+\ve or Xn+en+- Prnd w1+h R.ec\<.l-t:&s
                or CA-\ l ous lAci 1-+~renc~ +o -t-h-e +ed-erA \
                pro-+ee+ed 113\ri+-s                a-(::   o+krs.

                Wher-e+ore             I   Cieor310           C1A1fles prA-~s
            +hA+ +h,s
            I
                                   ['our+:

           (Pr) C°n-1-er J'udlf men+- on                          Coun-1---   5   l ()
            fWdworI o-P B~rd
                        C1eo r3 C-i        IOf'.tl'ld As AI fl M
                                                    i'W\U


   •                11'1-fY)   tn     ft-n Amoun+ no+ 1-e-ss
                   en ,j I 5V, Ooo "tor- +he ph~s ICl4 i dA-mtes
                l nrured,

           (_13) 0rdcr Wii l, iq.m B,rd +o re..PrA-11'1 -Pro CY\
              -Pur+her v1olAt1on o~ l?ieor,q10 l1A111e sj,
              Cons+1+u+1on A-I r 13 h-1-s lJ.rdfr -+h~ ~
             f-\rflerd men+ .

           (c) Awv,-rcl f L\(l It1v<e cllWll_tf S                 \{\   l'\-n AMoul'I+
             +o b-e          de_+erm t t".Qcl Af            +r1 A--l.
  •    (b ) 0uc~ o+her rel 1-e_-(:                          f\s +he C'e>ur+-
                deems· J°u&+- A-nd e.1u.,+A ble.
                                                    (25)
           1:18-cv-01373-JBM # 30   Page 26 of 30




•                 Coon+ &- ~2 u.~,c. § 1'i~ 3
               (TPtm I{: LLA \<es - Zth Arnendroeot)
    (45)        ~\A in h~-1'
                      here b~ \I\CorporA-1--e::,
     +he Prl~Ai-100.s (-\s l=°u\l~ S'ict- +or+h here
     \C\     Coun+    b~-P~nd A-n..\- TAM 1~ Lu \<es
                        CJ> ,
      demed plA-1f\+1.µ -+he r13h+ +o Use +he
      re.s+rcd(Y), CAUSln3. p\A\fl+\+t +o LlrH1A-+-e
      .P.-nc\ b~~CA+e a(\ KlmseJ+: wh, le he.
     l)JA-$ hA-ndcu~d And Res+rfHned, l)\fHf\-h~f-
     SA+ lf\ h\:s Llr\()e Af\d F~ce.s ~. l.Q nours
•     cS-trAjh+. A+ ~1 l ,e.\eVA(lt- +\mes TAm, e
      Lu l<es       WA-s   R bul:j SoJorn Co rr-e.cJ-10(\A-I
       ~,ce, Wt+h -+h-e ~-4-~4~ M I(tl(\Q(S who
      l,J A-s Ch trr5ed uJ Ith -\-he Cf\ ,-e An cl
      Cus-+csd j ' o+ pl A-1 n+1 .f-.(! .
    (4~) ·TA<Yll-e: Lu\<es r-\t+ed (J)Ao+on(~ -fowPrrd
      pl11-1nk~t Aod ~de.c\ \fY)A( 1Ctouslj Y+od
      ~A-c\, s-\-,ct\\ \~ l}J l+h -the Ver~ r urpc8~
       6t CA-u010-3 hA-Rl'Y\ •lh-e +orce. C1tu.s-e.d 6~
    TA-n11e Lu\<e.s WA-s N"o+ ~ec.e.ss f\-R~ , wA--s
      t-\o+- A-pp I1~d l I\ pro por+i o () +o ~nj re.A--sof\A-b lj
     (Rrce.t ved +h r-eJ<1--I-, A-1\d WA--B r+ pp IIed w1+hou+
     ~~r+- 4-o ~mpE:r .+he Sever-\½ of +he
•    -+ore.~      ernplC>_~ed. PIA-,fl+t~
     -l-o e(\dure true\              f\nd    UnusuA\
                                            (2.~)
                                                    WA-s   +orc_e.d
                                                           ?ufHshmetl+
.
'- - -      - - - -         - -



             1:18-cv-01373-JBM # 30
                   -
                                      - - -



                                      Page 27 of 30
                                                      --




                                                       --   --
                                                                              - -




                                                                            ----
                                                                                       - -




                                                                                        -·--




    •     l r. Vt o l11-+1 on o~ .+he 8'¼ f\m€'1clm-en+ rt-s
          A dt,e~+ Pr(\d pro)(\mA-+e res lA \+- o+
         .+h~ MAhC.\cus Vtnd c:SA-d,s+,c Condue.+
          6+   IA M 1-e    Lu. \~-es.
         (i.J'7) lne. --force. Lls-e..d b~ I-Am ,e Lu. \<es
          00 1)\ A lv1+l~ WA-~ ex.c.ess lVe. ~nd
           U\'\ n e c e ss ft-r~ , -IAm,~ Lu\<-e '.s Cc)(1d\;1e+
         Ro<S~ +o +he 1.£:v~( +o 6~ So ~8,C<cJIOUS
         +h A--\- TA Nl t-e l-u K-e & rre--\-ed w l+h l:: v1 I
         Mo+lve.. 6, J:n½t1+- A-t1d LO l+h R-ec.l< le~s
         Dr- C~l \ous l nc\ tt.C{:r~f\cQ               +o +h-e          'Fed-erA l
          pro+eckd R\ghls               o-(2   o+h-er.s .


         i4-hM-
            Wher-£._-Pore. C\eo13io
                  +hLsCour+:
                                1                 C1A1n~s          prA~S

         QI.\) f? o+-e r -;:ftAd3.e iYH~n-+ C) n Co u o+ I.Q. l n
          -f-~vor o+- 4eor,s Io Ci f\ 1fl-i: s I'-\ nc\ A3 AIMd-
         lRM, e.. LLA\<fs           lf\ \£\n Y-\-mou().\- Y\O-\-- \e&~
         +h~n -1' 150 1 000 -\'or --the               ph~ s I C.f\-'l    Dl'ttY\ASes
         tncur~d ..
-
                  1:18-cv-01373-JBM # 30
                            -              •
                                               Page 28 of 30
                                                     -            -          .,.1.         -•   *~~....   -   I




              Co os-h+u+t (In I    I'}   Rjh+s           Linder       .Jh~   S-th
              I{-\ m£:nd CY\en +   r
              I
         (C) t:twA-rd pun,4-11/e.     l)~(Y)AE)es tn A/I A-moun+-
              ~ o     b'c       be~1fY\1nd A+ +nt'\\)

         (b) JucJ'\ Other ~e_\,ef Prs ~he Cou,+
              de~ms Jus+ Rnd ~,+Ab(-e,



    •                  Coun-\- 1- 4Z U.Slt, 8 \9 i~
                        [Jor<lAo 1'>r'1-\-\-- 8+'\ Rrnmendmeo-\-)

        ( ~8)
           1
                       --PIA1n+i~ hcreb~                  lf\Corp0C'A-\-es           +he
           rill~A+to()s A-s -fullj Se.-t- tGr+h here. tn
          Colln+ '7, t)e~ndAo+- JordA-n PrA-\+ (:)~<H~d
          ,p\A\f\1-\~~ -l-h~ rl9h1- +o u~~ +he res+roo(Y),
          ~A~6\~~ p\R-\o-\-,~::f -\-a U,,nA-+t Af\dc\etecA+e
              on h,Msel f           whde          he
                                              hrrndcu+fedWA-s
          And res-trA-loed. ·-p\Pt, ()·+ \ ~ SA+ tn h, s
             rlne P.nd Feces +or CQ. l4-ours St-rfr15ht.
          At ~\ \ ~ \evAn+ --\-\mes To,dA-n PrA-++
          ~f,S A Du\~ otJor n Cor-r~c. -\-,o(\A l ()~icer
         tJJ,+h +h~ SfA+e o+ Illulo1s who WA-s
         Chftrs eel W1~ -\-he. CAre f1,nc\ Cus+ od l.\ 0 t'
          I                                     (Z.,~)                        _j
.
,
'=       -
                1:18-cv-01373-JBM # 30   Page 29 of 30




 •            p\r-Hn-h f+.
             (49)       JordAn V,A·++ Ac~d WAn+on lti
              -\-aw~r-d tolA1n-!-1f+ R-nd r-\c-\-ed MA(lC\DusJ~
              A/\d SP.-d I s+1cl'\ll~ l>.! t+h +he Ver~ purpose
              o+ Cf\U~l 03
                         hArm. 7n-e -force C-Rused
              b.4 ~ordAn PrA-t+ Wfts N.o+ NecessArj;
              Wfts N6-l- A-pp 11 ed ln prop<w+1on +o f\nj
         ,    RefTS6(H\-b lj perce.1 ved +hr~A-+ r::tnd [JJA-S
              YJp\\ed W\+hout e-t+or+ -+o -temper +he
              s~ve,,+~     o+ --the +orce emplo~ed. PIAtnt,tf
              Wfh~ -torce.c\ +o endur-e: Cru~\ And Uousu1+l
              f;Uf'\shmt"<1+ tn Vto\A+\o{) oi +he ~+h
              .Amendmt:n+ A-s A d,rec+ ttf\c\ eroJ<(MA+e
              R~su \+ o+ +h~ MA\ \C,ous f\11c\ S Ad,s+, c
              Cof\d L\Ct- of -~ ord~n ·-prA-\+,
             {5'6)      7h e_ +orce U8ed b~ J"o rd Pt-n
              KA-++    en   ·--p\A!cl ,~       wA-s e.xce.sslv-t. And
                          <:Jordrrn "PrA+t-s Cc ndu~+
              Un necesSf}r~,
              ~~ +o -1-n<c \e-v e.. \ +a be 0o [3 IE't_J I ou~
             -\-hA+ 00rc\A-o :PrPr+t Re:..\-ed W·1+h t Vt (
              Mo+1ve or .In+-en+ find Lut+h Rec1<le8S
              or Cf\\ \ous lnc\,t~~rence +o +h~ 'FeclerA-1
              fXn+ec.¼cl r13h-b o--9- o+hers,

     •       ·Wherrc¼re 4eor:c110)·
                                1                    C1.A1ne.s   prA"ys
                                           ( 29
        1:18-cv-01373-JBM # 30    Page 30 of 30




•    fht5   foun+:
    ( ti) t;;-n+-er "Jud~f-men+- on Cou.o+ r-r tn
       FAVor    o+    C1e.or::3 i D C1 A-1 ()e 5 A-nd A-1 nu+     As
       00rdA-(\ PrA -\-+ \ f\ rrn A-mouo+ nct-
       1e15s +h M 41 l 5o, Ooo -+or +he. ph~s ICf\-1
      Dfu'Y\~~s \ f\Cured j

    (\3) Orde:r  JordA-o '"PrA-+t                 +o
                                   \'e·\\--A\<\ ~rom
     lfuNY\er V, olA+1on o+ {heci~io C1.A mes 'ci
      on0~,+u+\<H1A \ R5\-\+s Llnder +h~ gth
      t:\r(\t:rc\rn~n+;

    ( C) Awfird pun, +,v~ D-1\-m't)es l n Pr/) Rrnouo+-
       --\-o be deter ('{)toed A+ +rt Al j

    CD) Ju.ch o+her R~\\e,+ A-s +h£: C~ur+ de~ms
      TLAs+    Af'\c\   e~u\+11·b \€.

                                 Ir21 be rne:ocl
           ?\r::-111\hf+ 4e.of3io C1FH<\€S he.re.6~
     fe &p•ec.+Pu \\~ de,(Y\~r\d .S -\-r \A \ b:\ J"lA rj O n           t4 }I
     Ccun-b.
     DAted: A-pr\\ \O; 2019                            ·Respec:tfu I I~ 8uh m, -\--\-ed
                                                         C1 e.oqp o Ge\oe,:1
                                    (30)
